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AJAY NORTH AMERICA LLC
4000 INDUSTRY RD
POWDER SPGS, GA 30127

Filing Status: Single/Married filing separately
Exemptions/Allowances:
Federal: Tax blocked

Page IEadrhings Statement

Perlod Beginning: 07/07/2024
Period Ending: 07/13/2024
Pay Date: 07/18/2024

CO! FENDERSON
3741 MACEDONIA ROAD
POWDER SPRINGS GA 30127

Earnings rate hours this period year to date cere: manent a
Regular 18.0000 40.00 720.00 16, 145.26 ‘on
Gerke 45.42  |fiformation this_period eS
: 1.12
Holiday 576.00 Pto Balance
P.T.O. 560.00 Tot! Hrs Worked 40.00
Gross Pay: 17,326.68
Important Notes
BASIS OF PAY: HOURLY
Deductions _Statutory ses Idina Information
Social Security Tax aa 64 1,074.25 Additional Tax Withholding _tnform
. ‘axa’ Status:
Medicare Tax -10 .44 251.24 GA: Single
Exemptions/Allowances:
Other GA: 0,Tax Blocked
BNKRPT -281 .25 2,250.00
Net: Pay: : Time Card Detail
DATE IN OUT IN OUT TOTAL
CHECKING 1 -283 .67 uch vic «a 8.08
CHECKING 2 -100 .00 TUE 0709 7:27AM 3:28PM 8.02
I WED 07/10 7:25AM —3:30PM 8.08
Net Che THU 07/11 7:25AM 3:27PM 8.03
FRI 0742 7:27AM 3:14PM 7.78
Your federal taxable wages this period are $720.00
Your GA taxable wages this period are $720.00
AJAY NORTH AMERICA LLC Advice number: 00000290045
4000 INDUSTRY RD 07/18/2024
POWDER SPGS, GA 30127
Deposited to the account of account _number transit ABA amount
COl FENDERSON XXXXXX 1024 XXXX _XXXX $283.67
XXXXKXKXB7 12 XXXX XXXX $100.00

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Case 24-£38Q:DeMerr DQCodk2 verzikad @8/01/24 Entered 08/01/24 10:38:52 Desc

AJAY NORTH AMERICA LLC
4000 INDUSTRY RD

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Cur onnas 7e7878 xNSOP odhatowMent Page Aparnings Statement 2»?
Period Beginning: 06/30/2024
Period Ending: 07/06/2024
Pay Date: 07/11/2024

POWDER SPGS, GA 30127

Filing Status: Single/Maried filing separately
Exemptions/Alowances:

COI FENDERSON
3741 MACEDONIA ROAD
POWDER SPRINGS GA 30127

Earnings rate hours this period
Regular 18.0000 24.00 432.00
Holiday 18.0000 16.00 288.00
Overtime
P.T.O
Gross Pay $720.00
Deductions _ Statutory
Social Security Tax 44 .64
Medicare Tax -10 .44
Other
BNKRPT -281 .25
Net Pay SNS RENE Soo $383.67
CHECKING 1 -283 .67
CHECKING 2 -100 .00
Net Check = (<5 = $0.00

year to date
15,425.26 Other Benefits and
"aa Information this period total to date
Sree Pto Balance 0 .26
45.42 .
560.00 Tot] Hrs Worked 24.00
16,606.68

Important Notes
BASIS OF PAY: HOURLY

1,029.61 Additional Tax Withholding Information

Your federal taxable wages this period are $720.00
Your GA taxable wages this period are $720.00

AJAY NORTH AMERICA LLC
4000 INDUSTRY RD
POWDER SPGS, GA 30127

Deposited _to the account_of

CO! FENDERSON

ital e
240.80 ‘ane Ma ee
Exemptions/Allowances:
GA: 0,Tax Blocked
1,968.75
Time Card Detail
DATE IN OUT IN OUT TOTAL
MON 07/01 7:25AM 3:29PM 8.07
TUE 07/02 7:25AM 3:30PM 8.08
WED 07/03 7:25AM 3:16PM 7.85
THU 07/04 HOLIDAY 8.00
FRI 075 HOLIDAY 8.00
Orme or, =
Advice number: 00000280045
07/11/2024
_3 = account number transit ABA amount
>= 000K 1024 XXXK XXX $283.67
= XXXXXXXXB7 12 XXXX  XXXX $100.00
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Cur 900206 7a7e7e xnsop domiament Page Earfings Statement 2

AJAY NORTH AMERICA LLC Period Beginning: 06/23/2024
4000 INDUSTRY RD Period Ending: 06/29/2024
POWDER SPGS, GA 30127 Pay Date: 07/03/2024

COI FENDERSON

ie 3741 MACEDONIA ROAD

lowances:

Federal: Tax blocked POWDER SPRINGS GA 30127

Earnings rate hours this period year to date

Regular 18.0000 40.00 720.00 14,993.26 Other Benefits and ae
Overtime 27.0000 30 8.10 45.42 intermaticn pee ee

housay 288.00 °° “mance

P.T.O. 560.00  Totl Hrs Worked 40.30

Important Notes
BASIS OF PAY: HOURLY

Deductions _Statutory

Social Security Tax 45.14 984.97 Additional Tax Withholding Information

Medicare Tax 10 .56 a3 Oo wae

Other ae aTex Blocked

BNKRPT -281 .25 1,687.50

Net Pay $399,45 Time_Card_ Detail

CHECKING 1 -291 .15 ‘ieee wee an aon IN OUT a

CHECKING 2 -100 .00 We Cece | ea «eae sae
Te WED 06/26 6:55AM 2:57PM 8.03

Net Check = $0.00 ait te |(Fe Se oo

FRI 06/28 7:25AM 3:27PM 8.03

Your federal taxable wages this period are $728.10
Your GA taxable wages this period are $728.10

AJAY NORTH AMERICA LLC
4000 INDUSTRY RD
POWDER SPGS, GA 30127

Deposited to the account of

ae = = acco ABA amount
COl FENDERSON aa 000001024 WOOK 00K $291.15
= = F 000000Kx87 12 YXXX OKK $100.00

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AJAY NORTH AMERICA LLC
4000 INDUSTRY RD
POWDER SPGS, GA 30127

Filing Status: Single/Maried filing separately
Exemptions/Allowances:
Federal: Tax blocked

Page 4Eafnings Statement

Period Beginning: 06/16/2024
Period Ending: 06/22/2024
Pay Date: 06/27/2024

COl FENDERSON
3741 MACEDONIA ROAD
POWDER SPRINGS GA 30127

Earninas rate hours this period year to date
a 18.0000 40.00 720.00 14,273.26 Other Benefits and
Information this period ott ce
Overtime 27.0000 18 4.86 37.32 pal so
Holiday wm oS Sas :
P.T.O. 560.00 Tot! Hrs Worked 40.18
Gross Pay - $724.86 15, 158.58
Important Notes
BASIS OF PAY: HOURLY
ions Statutory ss . :
Deduction Social Security Tax ~44 .94 939.83 Additional Tax Withholding Information
Taxable Marital Status:
Medicare Tax -10 .51 219.80 GA: Single
Exemptions/Allowances:
Other GA: 0,Tax Blocked
BNKRPT -281 .25 1,406.25
Net Pay $388.16 Time Card Detail
CHECKING 1 -288 .16 ion uae AE a _— a
CHECKING 2 -100 .00 Te Ww eat coca S08
TET — WED 06/19 7:25AM —3:29PM 8.07
Net Check $0.00 THU 06/20 7:26AM 3:29PM 8.05
FRI 06/21 7:34AM 3:30PM 7.93
Your federal taxable wages this period are $724.86
Your GA taxable wages this period are $724.86
AJAY NORTH AMERICA LLC Advice number: 00000260044
4000 INDUSTRY RD Pay date: = > 06/27/2024
POWDER SPGS, GA 30127 : = SS
Deposited to the account of = account number _transit_ABA amount
COl FENDERSON XXXxXxXX1 024 XXXX XXX $288 . 16
XXKXKKKXB7 12 XXXX _XXXX $100.00

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AJAY NORTH AMERICA LLC
4000 INDUSTRY RD
POWDER SPGS, GA 30127

Filing Status: Single/Married filing separately
Exemptions/Allowances:
Federal: Tax blocked

Page Harnings Statement
Period Beginning: 06/09/2024
Period Ending: 06/15/2024
Pay Date: 06/20/2024

COI FENDERSON
3741 MACEDONIA ROAD
POWDER SPRINGS GA 30127

Earnings rate hours this period year to date as Baal “a
Regular 18.0000 39.85 717.30 13,553.26 fone ©
Overtime 22,46 formation ee
‘ : 4 .40
Holiday 288,09 PO Balance
P.T.O. 560.00 Tot! Hrs Worked 39.85
Gross Pay 14,433.72
Important Notes
BASIS OF PAY: HOURLY
Deductions _Statutory was . :
Social Security Tax 4A 47 894.89 Additional _ Tax Withholding Information
° axal 5
Medicare Tax -10 .40 209.29 GA: Single
Exemptions/Allowances:
Other GA: 0,Tax Blocked
BNKRPT -281 .25 1,125.00
Net Pay ~ $38. Time Card Detail
DATE IN OUT IN OUT TOTAL
CHECKING 1 -281 .18 MON 0610  725AM 3:25PM 8.00
CHECKING 2 -100 .00 TUE 081i 728A | SD0PM 753
———— WED 06/12 7:25AM 3:30PM 8.08
Net: Check: THU 06/13 7:24AM 3:35PM 8.18
FRI 06/14 6:57AM 3:00PM 8.05
Your federal taxable wages this period are $717.30
Your GA taxable wages this period are $717.30
AJAY NORTH AMERICA LLC Advice number: 00000250044
4000 INDUSTRY RD Pay date: = > 06/20/2024
POWDER SPGS, GA 30127
Deposited to the account _of amount
CO! FENDERSON $281.18
$100.00

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AJAY NORTH AMERICA LLC
4000 INDUSTRY RD
POWDER SPGS, GA 30127

Filing Status: Single/Maried _ filing separately
Exemptions/Allowances:
Federal: Tax blocked

Page €arfings Statement

Period Beginning: 06/02/2024
Period Ending: 06/08/2024
Pay Date: 06/13/2024

COl FENDERSON
3741 MACEDONIA ROAD
POWDER SPRINGS GA 30127

Earnings rate hours this period year to date a 4
Regular 18.0000 40.00 720.00 12,835.96 er Benefits an
Gouin 32.46  ‘!nformation this period total_to date
Holiday 288.00 Pto Balance -5 .78
P.T.O. a 560.00 Tot! Hrs Worked 40.00
Gross Pay $720.00 13,716.42
Important Notes
BASIS OF PAY: HOURLY
Deductions _Statutory se : :
Social Security Tax G4 64 850.42 Additional Tax Withholding Information
7 Taxable Marital Status:
Medicare Tax -10 .44 198.89 GA: Single
Other Exemptions/Allowances:
GA: 0,Tax Blocked
BNKRPT -281 .25 843.75 7
DATE IN OUT IN OUT TOTAL
CHECKING 1 MON 06/03 7:26AM —3:28PM 8.03
CHECKING 2 TUE 06/04 7:26AM 12:00PM 12:30PM 4:02PM_—8.10
———— WED 06/05 7:30AM 3:20PM 7.83
Net Check < THU 06/06 7:26AM —s-3:27PM 8.02
FRI 06/07 7:25AM ~— 3:26PM 8.02
Your federal taxable wages this period are $720.00
Your GA taxable wages this period are $720.00
AJAY NORTH AMERICA LLC Advice number: 00000240043
4000 INDUSTRY RD Pay date = 06/13/2024
POWDER SPGS, GA 30127
Deposited to the account_of = account number transit ABA amount
== ~—— xnxx 024 YXXK  HKX $283.67
= XXXXXXXXB7 12 XXXX _XXXX $100.00

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AJAY NORTH AMERICA LLC
4000 INDUSTRY RD
POWDER SPGS, GA 30127

Filing Status: Single/Maried filing separately
Exemptions/Allowances:
Federal: Tax blocked

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Period Beginning: 05/26/2024
Period Ending: 06/01/2024
Pay Date: 06/06/2024

COl FENDERSON
3741 MACEDONIA ROAD
POWDER SPRINGS GA 30127

Earnings rate hours this period year to date /
Regular 18.0000 24.47 440.46 12, 115.96 ie ae and tis sia
Holiday 18.0000 8.00 144.00 288.00 SS eee ~
P.T.O. 18.0000 8.00 144.00 560.00 “
Overtime 32.46 Tot! Hrs Worked 24.47
ross Pay ‘ +46 12,996.42
Gross Pay $728.46 2 Important Notes
BASIS OF PAY: HOURLY
Deductions _Statutory is : .
Social Security Tax 4517 805.78 Additional Tax Withholding Information
Taxable Marital Status:
Medicare Tax -10 .56 188.45 GA: Single
Exemptions/Allowances:
Other GA: 0,Tax Blocked
BNKRPT -281 .25 562.50
Net Pa ais Time Card Detail
IN OUT TOTAL
CHECKING 1 -291 .48 MON 0527 HOLIDAY a
CHECKING 2 -100 .00 TUE 05/28 7:25AM 3:29PM 7
SOE — WED 05/29 7:26AM_—s 3:31PM 8.08
Net Check $0.00 THU 050 7:27AM 3:46PM 8.32
FRI 0581 PTO 8.00
Your federal taxable wages this period are $728.46
Your GA taxable wages this period are $728.46
Ome nF, me
AJAY NORTH AMERICA LLC Advice number: 00000230043
4000 INDUSTRY RD Pay date: = > 06/06/2024
POWDER SPGS, GA 30127
Deposited to the account of ABA amount
COl FENDERSON SS 000K 1024 XXXX _ XXXX $291.48
= 300000087 12 XXXX XXX $100.00

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AJAY NORTH AMERICA LLC Period Beginning: 05/19/2024
4000 INDUSTRY RO Period Ending: 05/25/2024
POWDER SPGS, GA 30127 Pay Date: 05/30/2024

COl FENDERSON

Filing Status: Girgetiarted filing separately 3741 MACEDONIA ROAD
can Tarte POWDER SPRINGS GA 30127
q rate hours this period year to date
Farmings 18.0000 40.00 00 1 Other Benefits and
a i 1075.50 information this period total to date
Overtime 27.00! .90 4.30 32.4
: " , 2.46 Pto Balance 0 .54
Holiday 144.00
P.T.O. 416.00 Tot! Hrs Worked 40.90
Gross Pay AX $744.30 12,267.96

Important Notes
BASIS OF PAY: HOURLY

Deductions _Statutory

ial Securlly Tax 46714 760.61 Additional Tax Withholding Information
Social 7.89 Taxable Marital Status:
Medicare Tax -10 .80 177. GA: Single
Other GA 0,Tax Blocked
BNKRPT 281.25
Net Pay $687.36 Time Card Detail
DATE IN OUT IN OUT TOTAL
CHECKING 1 “587 .36 MON 05/20  7:22AM_)s«12:00PM_ 12:30PM = 3:51PM 7.98
CHECKING 2 -100 .00 TUE 05/21 7:23AM 4:03PM 8.67
WED 05/722 7:23AM = 3:31PM 8.13
Net Check $0.00 THU 05723 7:26AM 3:33PM 8.12
FRI 05/24 ~=-7:27AM_—s« 3:27PM 8.00

Your federal taxable wages this period are $744.30
Your GA taxable wages this period are $744.30

AJAY NORTH AMERICA LLC
4000 INDUSTRY RD
POWDER SPGS, GA 30127

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